Case 1:08-cv-01642-AKH Document 10 Filed 06/25/2008 Page 1 oft

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

21 MC 102 (AKH)
IN RE LOWER MANHATTAN DISASTER slTE
LITIGATION
" 1\ MMIELCABRERA DoCKETNO.
Piaimiffs, os-cv-01642
Judge Hellerstein
AFFIDAVIT oF
l sERvICE
- against - 5

90 CHURCH sTREET LIMITED PARTNERSHIP, :
BosToN PRoPERTIEs, lNc, NEW YoRK UNIVERSITY, 5
vERizoN NEW YORK, rNC., HILLMAN i
ENVIRONMENTAL GROUP, LLC, BROOKFIELD

FINANCIAL PRoPBRTIEs, L.P., and BLACKMON- ,
MooRtNG-sTEAMATIC CATAsToPHE, INC. d/b/a BMs §
cAT, =

Defendants.

I, Anna Tse, being duly sworn, deposes and says: I am not a party to the within
action, am over the age of eighteen (1 8) years old, and reside in Brooklyn, New York.

On May 23, 2008, I served the within copy of Surnmons & Complaint by
personally serving a true copy of the same upon the Defendant, Boston Properties, Inc.,
by its designated agent, CT Corporation System, more specifically, Nora Dindyal, at:

CT Corporation System
111 Eighih Avenue, 13"‘ Fioor
New York, New York 10011

 

Swom to before me on this
l day of June, 2008

BEATRIZ DOLORES ARANA
Notary Pubiic, State of New York
No. 01AR6132940

Qua\_ified in Queens County @7
Commission Expires August 29, 20 _

